                     United States District Court
                      District of Massachusetts

                                  )
UNITED STATES of AMERICA,         )
                                  )
           v.                     )     Criminal Action No.
                                  )     16-10305-NMG
MARTIN GOTTESFELD,                )
                                  )
           Defendant.             )
                                  )

                                ORDER

GORTON, J.

    Because neither 28 U.S.C. § 455 nor the cases cited by

defendant require a judge to disclose information upon the

request of a litigant and because the issue of the presiding

judge’s recusal has long since been considered and rejected,

defendant’s emergency motion for disclosure (Docket No. 340) and

emergency motion for a stay pending a hearing (Docket No. 341)

are DENIED. See United States v. Snyder, 235 F.3d 42, 46 (1st

Cir. 2000) (“A trial judge must hear cases unless [there is]

some reasonable factual basis to doubt the impartiality or

fairness of the tribunal . . . otherwise, he has a duty to sit.”

(alteration in original) (internal quotation marks omitted)

(quoting Blizard v. Frechette, 601 F.2d 1217, 1221 (1st Cir.

1979))).

    The defendant is reminded that, at the sentencing on

Thursday, January 10, 2019, at 11:00 A.M., at which he will


                                 -1-
appear pro se, the hearing will be limited to sentencing issues

and will not pertain to his pre-trial claims or his conviction

after jury trial as to which his rights of appeal have been

preserved.



So ordered.

                                _/s/ Nathaniel M. Gorton_____
                                 Nathaniel M. Gorton
                                 United States District Judge
Dated December 27, 2018




                               -2-
